Case 2:09-md-02047-EEF-MBN Document 464-3 Filed 11/18/09 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED MDL NO. 2047
DRYWALL PRODUCTS LIABILITY SECTION: L
LITIGATION JUDGE FALLON

MAG. JUDGE WILKINSON

THIS DOCUMENT RELATES TO:

Germano, et al. v. Taishan Gypsum Co.,
Ltd., f/k/a Shandong Taihe Dongxin Co.
Ltd., et al., Case No. 2:09-cv-6687 (E.D.La.)

DECLARATION OF ARNOLD LEVIN IN SUPPORT OF PLAINTIFF’S MOTION
FOR DEFAULT JUDGMENT AGAINST TAISHAN GYPSUM CO., LTD.

I, Arnold Levin, declare as follows:

1. I am a partner in the law firm of Levin, Fishbein, Sedran & Berman, counsel of
record for Plaintiffs in this matter. I am a member in good standing of the bar of the State of
Pennsylvania. I submit this declaration in support of Plaintiffs’ Motion for Default Judgment
Against Defendant Taishan Co., Ltd (“Taishan”). I have personal knowledge of the facts set
forth in this declaration, and could testify competently to them if called upon to do so.

2. Plaintiffs perfected service of the Complaint on defendant Taishan on August 3,
2009. Documents memorializing effective service on Taishan are attached hereto as Exhibit
“A”,

3. To date, Taishan has failed to enter an appearance, answer, or otherwise respond
to Plaintiffs’ complaint. A true and correct copy of the docket sheet for the Plaintiffs’ action is

attached hereto as Exhibit “B”’.
Case 2:09-md-02047-EEF-MBN Document 464-3 Filed 11/18/09 Page 2 of 2

I declare under penalty of perjury under the laws of the State of Pennsylvania and the
United States that the foregoing is true and correct.
Executed this 17th day of November, 2009, at Philadelphia, Pennsylvania.

a)

ARNOLD LEVIN
